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EXH|B|T A
STATE COURT COMPLA|NT

SH|RLEE |\/|. RHEAD v. F|RST NAT|ONS CO|\/|PENSAT|ON
PLAN and SEDGW|CK CLA|l\/|S |\/|ANAGE|\/|ENT
SERV|CES, |NC.

Third Judicia| Circuit Court, |\/|oody County,
State of Sou'th Dakota

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STA'I'E OF SOUTH DAKOTA ) IN ClRCUlT COURT
: SS
COUNTY OF MOODY ) THIRD JUDICIAL CIRCUIT

*******¢********************************-r***

SHIRLEE M. R.HEAD, Civ. 09-
Plaintiff,
vs. COMIPLAINT

FlRST NATlONS COMPENSATION
PLAN and SEDGWICH CLAIMS
MANAGEMENT SERVICES, INC.,

Defendants.

********************************************

PLAINTIFF, FOR HER COMIPLAINT AGAINST DEFENDANTS, STATES
AND ALLEGES AS FOLLOWS:

l.

That at all times relevant herein, Plaintiff is and has been a resident of
Moody County, South Dakota.

2.

That from on or about September 3, 1990 to March 10, 2007, Plaintiff was
an employee of Royal River Casino owned by the Flandreau Santee Sioux Tribe.

3.

That Plaintiff had an excellent work record at said casino, working every day
from her date of employment up to Ma.rch lO, 2007.

 

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4.

That Plaintii’f arrived on the premises of the Royal River Casino shortly
before 8:00 a.m. on March 10', 2007, parked her car in the designated employee
parking lot, and was in the process of entering the building using the designated
Employee Entrance, as required by the Guide to Conduct General Guidelines,
paragraph 1 provision contained in the 2004 Employee Handbool< at page 25.

5.

That Plaintiff slipped and fell on ice that had unnaturally accumulated at said
entrance, causing serious bodily injury.

6.

That Pla1nt1st injury was immediately noted by her employer, and Plaintiff
left the premises in an ambulance

7.

That as a result of the fall, Plaintiff has suffered serious bodily injury,
requiring surgery; has as a result a permanent partial disability, lost wages, and has
incurred significant and ongoing medical expenses. Plaintiff in addition suffered
pain and suffering and continues to experience pain and continues to suffer to this
date and will into the future.

8.

That employees of the Flandreau Santee Sioux Tribe working at the Royal
River Casino in Flandreau, South Dakota, were informed both orally and in writing
through the Employee Handbook that they were covered by Workers’
Compensation Insurance. The 2004 edition of the Employee Handbook provides
in part, on page 23, “Workers’ Compensation Insurance provides benefits for job-
related injuries. All employees are covered and the entire cost of this insurance is
paid by Royal River Casino, Bingo and Motel. . .” Sajd handbook goes on to
provide, “. . . Should any employee sustain a work-related injury, our Workers’
Compensation Insurance will provide medical coverage and income replacement
for the period of the employee’s disability, as required by law."

 

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9.

Throughout the time period in which Plaintiff was employed and up to and
including the date of Plaintift`s fall and injury on March 10, 2007, the Flandreau
Santee Sioux Tribe, on behalf of employees of its Royal River Casino, paid
workers’ compensation premiums to its Workers’ Compensation Insurance
Company, Defendant First Nations Compensation Plan, of Grand Island, Nebrasl<a.

lO.

That Defendant First Nations Compensation Plan accepted said premium
payments for the purposes of providing Workers’ Compensation Insurance
coverage for the employees of the Flandreau Santee Sioux Tribe working at the
Royal River Casino, and did in fact make payments on behalf of employees
thereby covered.

11.

Defendant First Nations Compensation Plan contracted with Defendant
Sedgwich Claims Management Services, inc., of Omaha, Nebraska, to administer
said plan, and Defendant Sedgwich Claims Management Services, Inc. at all times
relevant herein acted as the administrator of the Flandreau Santee Sioux Tribe’s
purported Workers’ Compensation Insurance Plan for their employees, and was the
agent of Defendant First Nations Compensation Plan.

12.

That as a result of Plaintiff’s'fall and the injuries sustained by her in said
fall, Plaintiff has incurred medical expense to date m excess of` $40, 400. OO,- the
actual amount to be proven at trial

13.

That as a result of Plaintiff’s fall and the injuries sustained by her in said
fall, Plaintiff was unable to work at Royal River Casino owned by the Flandreau
Santee Sioux Tribe, as normally covered under Workers’ Compensation Insurance
and would be entitled to loss of earnings benefits based upon her hourly earnings
as of March 10, 2007, in an amount to be determined at trial.

 

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14.

That as a result of Plaintiff’s fall and the injuries sustained by her in said
fall, Plaintif~f suffered permanent partial disability and would be entitled to
reimbursement for said permanent partial disability, as provided by Workers’
Compensation Law.

FIRST CAUSE OF ACTION
CONSTRUCTIVE TRUST

15.
Plaintiff realleges paragraph 1 through 14 above as if fully set forth herein.
16.

That the actions by Defendant First Nations Compensation Plan in accepting
premiums from the Flandreau Santee Sioux Tribe on behalf of its employees has
created a constructive trust in favor of said employees, requiring Defendant to be
responsible for the reasonable and ordinary workers’ compensation benefits
otherwise provided by law to employees within the State of South Dakota.

l7.

That as a result, Plaintiff is entitled to recovery under the general provisions
of the South Dakota Workers’ Compensation Act for all injuries sustained by her
as a result of her fall on March 10, 2007, including full payment of all medical
expenses and related drug expenses and other ancillary medical services; payment
for travel to and from physicians and any other compensable loss related to her
treatment, together with payment for her loss of time based on her wage as of
March l,O, 2007, and compensation for her permanent partial disability, all in an
amount to be determined at trial.

18.

That as a result of said constructive trust providing workers' compensation
benefits, Defendants are precluded from raising as a defense assumption of the risk
or contributory negligence

 

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19.

That Defendant Sedgwich Claims Management Services, Inc., as the agent
of Defendant First Nations Compensation Plan, is jointly and severally liable to
Plaintiff for all damages asserted herein against Defendant First Nations
Compensation Plan.

SECOND CAUSE OF. ACTlON
FRAUD AND DECEIT

20.
Plaintiff realleges paragraphs l through 19 above as if fully set forth herein.
21.

Plaintiff was lead to believe by both Defendants that there was a Workers’
Compensation Plan in effect controlled by a Tribal Ordinance of the Flandreau
Santee Sioux Tribe entitled “Tribe Occupational Injury Ordinance,” consisting of
Tribal Code Sections 4E-1.1 through 4E-1.29, inclusive, which was purportedly
passed by resolution on September 3, 1996, and was purportedly in full force and
effect at the time of Plaintiff’s fall and injury on March 10, 2007.

22.

That said Tribal Occupational Injury Ordinance was in fact never passed by
the Flandreau Santee Sioux Tribe, and while a draR ordinance was prepared, the b
final version of said ordinance was never adopted and entercd.

23.

That Defendant Sedgwich Claims Management Services, Inc., on or about
March 12, 2007, informed Plaintiff that as an employee of a Native American
Indian Tribe acting as a sovereign nation, her workers’ compensation claim would
be handled in accordance with the Tribe’s Occupational Injury Benefit Ordinance,
and as a result, in reliance upon a specific provision therein which is contrary to
general South Dakota law, denied her workers’ compensation claim alleging that
she had failed to clock in for her shift and, therefore, was not covered by the
“Tribal Ordinance." Said ordinance had not been properly adopted; nevertheless,
Defendant Sedgwich Claims Services Management Services, Inc., on behalf of

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their principal, Defendant First Nations Compensation Plan, denied Plaintiff’s
workers‘ compensation coverage based on said provision.

24.

That the actions of both Defendants herein in asserting a unique provision
from an ordinance that had not been passed to deny Plaintist claim and leading
Plaintiff to believe that said ordinance bars her recovery amounts to fraud and
deceit, and Defendants are jointly and severally liable to Plaintiff for all damages
that flow as a result of said actions, including Plaintist attomey’s fees and costs.

25.

That as a result of said Defendants’ actions as alleged herein, Plaintiff
incurred additional mental anguish and suffering, and is entitled to damages jointly
and severally from both Defendants in an amount to be detemiined at trial, but not
less than One Hundred Thousand Dollars ($100,000.00).

26.

That as a result of said Defendants’ actions as alleged herein, Plaintiff
further incurred additional significant attomey’s fees in attempting to recover from
her injuries and experienced significant delay from March 10, 2007 to the present
in attempting to recover for the losses sustained by he_r.

THIRD CAUSE OF ACTION
NEGLIGENT l`NFLlCTION OF EMOTIONAL DISTRESS

27.
Plaintiff realleges paragraphs 1 through 26 above as if fully set forth herein,
n 28.
That the actions of Defendants herein and their misleading Plaintiff as set
forth herein amounts to negligent infliction of emotional distress, and Plaintiff

should be awarded damages in an amount not less than One Hundred Thousand
Dollars ($100,000.00), as to be determined at the time of trial. `

 

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FOURTH CAUSE OF ACTION
[NTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

29.
Plaintiff realleges paragraph 1 through 28 above as if fully set forth herein,
30.

That the actions of Defendants herein in not doing due diligence to
determine whether or not their reason for denying Plaintiffs claim was based in
fact or not in causing Plaintiff additional delay so as to avoid making payment of
insurance benefits to Plaintiff amounts to intentional infliction of emotional
distress, and Plaintiff should be awarded recovery of not less than One l-Iundred
Thousand Dollars ($100,000.00), as to be determined at the time of trial.

FIFTH CAUSE OF ACTION
FRAUDULENT CONCEALMEN'I` AND

FRAUDULEN'[` MISREPRESE§ lATION

31.
Plaintiff realleges paragraph l through 30 above as if fully set forth herein.
32.
That Defendants herein, in asserting a defense that they had no right to assert
to deny Plaintiff her rightful coverage, is fraudulent concealment and fraudulent

misrepresentation, and Plaintiff should be awarded recovery of not less than One
Hundred Thousand Dollars ($100,000.00), as to be determined at the time of trial.

§IXTH CAU§E OF ACTION
PUNITIVE DAMAGES

33.

Plaintiffrealleges paragraph l through 32 above as if fully set forth herein.

 

 

 

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4 34.

That the acts of Defendants herein amounts to willful and wanton
misconduct and entitles Plaintiff to punitive damages against Defendants, jointly
and severally, as provided by South Dakota statute, and Plaintiff should be
awarded recovery of not less than Three Hundred Thousand Dollars ($300,000.00),
as to be determined at the time of trial.

SEVENTH CAUSE OF ACTION
ATTORNEY’S FEES

35.
Plaintiff realleges paragraph 1 through 34 above as if fully set forth herein.
36.

That the willful and wanton misrepresentations by Defendants, as set forth
herein, caused Plaintiff to incur significant and substantial attomey’s fees and
delay in pursuing her claim, and Defendants should be jointly and severally liable,

- as allowed by law, to Plaintiff for Plaintist reasonable expenses and costs
incurred by her for attomey’s fees, and Plaintiff should be awarded prejudgment
interest from March 10, 2007 to the present at the statutory rate, together with
Plaintiff’s costs and disbursement incurred herein in an amount to be determined at
trial. '

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

(a) That under Plaintifi`s first cause of action for a constructive trust for

' workers’ compensation benefits, Plaintiff should be awarded all benefits entitled to

her under the South Dakota Workers’ Compensation Act, including but not limited

to loss of time benefits, payment of all medical and related expenses, and damages

for permanent partial disability, together with interest thereon from the date of
occurrence of each debt at the highest rate allowed by law;

(b) That under Plaintiff’s second cause of action for fraud and deceit,
Plaintiff should be awarded damages in an amount of not less than One Hundred
Thousand Dollars ($100,000.00);

 

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(c) That under Plaintiffs third cause of action for negligent infliction of
emotional distress, Plaintiff should be awarded damages in an amount of not less
than One Hundred Thousand Dollars (3100,000.00);

(d) That under Plaintiff`s fourth cause of action for intentional infliction
of emotional distress, Plaintiff should be awarded damages in an amount of not
less than One Hundred Thousand Dollars (3100,000.00);

(e) That under Plaintiffs fifth cause of action for fraudulent concealment
and fraudulent misrepresentation, Plaintiff should be awarded damages in an
amount of not less than One Hundred Thousand Dollars ($100,000.00);

(t) That under Plaintiff’s sixth cause of action for punitive darnages,
Plaintiff should be awarded damages in an amount of not less than Three Hundred
Thousand Dollars ($300,000.00);

(g) That under Plaintiff’s seventh cause of action for attomey’s fees,
Plaintiff should be awarded her attomey’s fees, tax and costs, together with
prejudgment interest thereon at the highest rate allowed by law, as determined at
trial;

(h) That both Defendants herein should be jointly and severally liable for
all of Plaintiff's damages as set forth herein;

(i) That Plaintiff, in all cases where interest is appropriate, should be
awarded interest at the highest rate allowable by law; and `

(i) That the Court grant such other and further relief as may be just and
equitable.

Dated this wa day of May, 2009.
SHAEFFER LAW OFFICE

By: \/"'Q' c" ‘/X‘O“"zl.¢
JoHN AJSHAEFFER ' »
Attomeys for Plaintiff -

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DEMAND FOR JURY TRIAL
Plaintiff hereby demands trial by jury orr all issues herein.
Dated this Q[DV£\day of May, 2009.

SHAEFFER LAW OFFICE

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